Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3658 Page 1 of 6




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15
16                          UNITED STATES DISTRICT COURT
17                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18
     SELENA MOORER, individually and on            Case No.: 3:16-cv-02816-AJB-NLS
19   behalf of others similarly situated,          Class Action
20         Plaintiffs,                             JOINT MOTION TO FURTHER
                                                   AMEND AUGUST 14, 2018
21   vs.                                           SCHEDULING ORDER [DKT. NO.
                                                   101] RE BRIEFING ON
22   STEMGENEX MEDICAL GROUP,                      PLAINTIFFS’ MOTION FOR CLASS
     INC., a California corporation;               CERTIFICATION
23   STEMGENEX, INC., a California
     corporation; STEM CELL RESEARCH
24   CENTRE, INC., a California Corporation;
     ANDRE P. LALLANDE, D.O., an
25   Individual; SCOTT SESSIONS, M.D.,
     and Individual; RITA ALEXANDER, an
26   Individual; and DOES 1-100,
27         Defendants.
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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3659 Page 2 of 6




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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3660 Page 3 of 6




 1         Plaintiffs, SELENA MOORER, REBECCA KING, JENNIFER BREWER, and
 2   ALEXANDRA GARDNER (“Plaintiffs”), and Defendants, STEMGENEX, INC.,
 3   STEM CELL RESEARCH CENTRE, INC., RITA ALEXANDER, ANDRE P.
 4   LALLANDE, D.O., and STEMGENEX MEDICAL GROUP, INC., (collectively,
 5   “Defendants”) submit the following Joint Motion to Further Amend the August 14,
 6   2018 Scheduling Order [Dkt. No. 101] Re Briefing on Plaintiffs’ Motion for Class
 7   Certification, as follows:
 8         On August 6, 2018, Plaintiffs filed their Motion for Class Certification. [Dkt.
 9   Nos. 95 – 95.23.] Plaintiffs’ motion included moving papers and supporting evidence
10   and declarations.
11         On August 14, 2018, this Court entered an Amended Scheduling Order [Dkt.
12   No. 101.] That Order extended briefing on Plaintiffs’ motion to:
13       November 16, 2018, for Defendants to file oppositions;
14       December 7, 2018, for Plaintiffs to file a reply; and
15       January 31, 2019, at 2:00 p.m., as the hearing date for the Motion for Class
16         Certification.
17         In connection with preparing their Oppositions, Defendants sought to conduct
18   additional discovery related to class certification. On September 28, 2018, the Court
19   entered an Order [Dkt. No. 103] permitting Defendants to take depositions of fifteen
20   of forty-nine potential class members who had offered declarations supporting
21   Plaintiffs’ motion, and the three retained expert witnesses who had offered
22   declarations supporting Plaintiffs’ motion. That Order required all eighteen
23   depositions to be completed by November 2, 2018. The Court’s September 28, 2018
24   Order also required Defendants to produce any of their rebuttal retained expert
25   witnesses used in supporting their Oppositions for depositions between November 26
26   and November 30, 2018, before Plaintiffs’ reply brief is due.
27         The parties have worked cooperatively to conduct the eighteen depositions on
28   time. As of November 2, 2018, fourteen of the fifteen potential class members have

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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3661 Page 4 of 6




 1   been deposed, and the last one is scheduled to be completed on November 2, 2018. In
 2   addition, Defendants conducted the depositions of Plaintiffs’ three retained expert
 3   witnesses on October 22, 25, and 29, respectively.
 4         The reason the parties are now requesting a further extension to the
 5   Court’s briefing schedule is as a result of a previously unknown omission from a
 6   portion of Plaintiffs’ Motion for Class Certification. Specifically, the Declaration
 7   of one of Plaintiffs’ retained expert witnesses, Dr. Michael Kamins, was filed on
 8   August 6, 2018 containing a report, and multiple exhibits and appendices. [Dkt. No.
 9   95-10.] However, it was not known at the time of filing that certain appendices
10   described in Dr. Kamins’ report were unintentionally not filed with the declaration
11   including: Appendix D – StemGenex Study Methodology Report provided by Elliott
12   Harstone – Spectrum Associates; Appendix E – StemGenex Figures provided by
13   Dorinda Richitelli – Spectrum Associates; Appendix F – StemGenex Study Screen
14   Shots provided by Dorinda Richitelli – Spectrum Associates; and Appendix G – Excel
15   data file provided by Dorinda Richitelli – Spectrum Associates. During Dr. Kamins’
16   deposition on October 22, 2018, counsel for Plaintiffs and Defendants and Dr. Kamins
17   realized this error. Within two days, on October 24, 2018, Plaintiffs obtained and
18   served Defendants with all of the missing pages/documents. And on October 29, 2018,
19   Plaintiffs filed a fully corrected declaration, report and all exhibits and appendices for
20   Dr. Kamins. [Dkt. No. 104.]
21         As contemplated in the Court’s September 28, 2018 Order, Defendants have
22   engaged retained expert witnesses for their Oppositions. Defendants need time to
23   synthesize the information provided by their expert and prepare appropriate
24   Oppositions. Defendants’ expert has indicated that 30 days are needed to analyze and
25   respond to the omitted information produced by Plaintiffs on October 24, 2018.
26   Defendants request they have an opportunity to work with their retained witnesses and
27   file Opposition briefing on December 17, 2018. Plaintiffs have also offered to allow
28   Defendants to continue the deposition of Dr. Kamins on the omitted material, which

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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3662 Page 5 of 6




 1   the parties are in the process of scheduling.
 2           In addition, an extension is appropriate given Defendants’ counsels’ schedules.
 3   Counsel for Defendant Andre P. Lallande is scheduled to start trial in another matter
 4   on November 5, 2018, that is expected to last a minimum of two weeks. Further,
 5   Defendants’ counsel has have pre-planned vacations and time off scheduled during the
 6   weeks of November 19, 2018 and November 26, 2018.
 7         Plaintiffs do not oppose Defendants’ requested extension to December 17,
 8   2018, as long as Plaintiffs’ reply due date is extended to January 25, 2019.
 9   Defendants do not oppose Plaintiffs’ requested mutual extension. Plaintiffs need that
10   additional amount of time for two primary reasons. First, the Court’s September 28,
11   2018 discovery Order requires Defendants to produce their retained witnesses for
12   depositions before Plaintiffs’ reply brief is due; Plaintiffs will need time to analyze
13   any defense expert reports/declarations, prepare for and conduct Defendants’ experts’
14   depositions. Second, Plaintiffs’ counsel, their offices and staff have previously
15   planned vacation time and dates on which their respective offices will be closed
16   during the weeks of December 24 and 31, 2018. Consequently, the parties agree that
17   Defendants’ retained witnesses will be made available for depositions between
18   January 10-16, 2019. Plaintiffs then need additional time to complete their reply brief
19   until January 25, 2019.
20         Therefore, the parties request the Court enter an Order to modify previously set
21   deadline dates as follows:
22       The deadline for Defendants to file oppositions to Plaintiffs’ Motion for Class
23         Certification is changed from November 16, 2018, to December 17, 2018.
24       The deadline for Plaintiffs to file a reply is changed from December 7, 2018, to
25         January 25, 2019.
26       Should Defendants rely on expert report(s) in their opposition to the Motion for
27         Class Certification, Defendants’ expert(s) must be produced for deposition
28         between January 10 and January 16, 2019.

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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
Case 3:16-cv-02816-AJB-NLS Document 105 Filed 11/02/18 PageID.3663 Page 6 of 6




 1   Respectfully submitted,1
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 5
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 6
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 8
                                              /s/ Timothy Williams
 9                                            Timothy Williams, Esq.
10                                            Attorneys for Plaintiffs
11
              Date: 11/2/18                   ROSENBERG, SHPALL & ZEIGEN, APLC
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13
                                              /S/ Annette Farnaes
                                              Annette Farnaes, Esq.
14                                            Attorneys for Defendants
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              Date: 11/2/18                   FARNAES & LUCIO, APC
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                                              Malte Farnaes, Esq.
                                              Attorneys for Defendants
19
20            Date: 11/2/18                   NEIL DYMOTT FRANK MCFALL
21                                            /s/ Nicole Melvani
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                                              Attorneys for Andre P. Lallande, O.D.
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26   1
       The filer certifies pursuant to Section 2(f)(4) of the Electronic Case Filing
27   Administrative Policies and Procedures of the United States District Court for the
     Southern District of California, that the content of this document is acceptable to
28   counsel for Plaintiffs and Defendants and that I have obtained authorization for all of
     the foregoing signatories to affix their electronic signature to this document.
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     JOINT MOTION TO FURTHER AMEND 8/14/18 SCHEDULING ORDER
                                                3:16-cv-02816-AJB-NLS
